
Davis, Judge,
concurring in the result:
I concur in the judgment under the principles of Guggenheim v. United States, 111 Ct. Cl. 165, 77 F. Supp. 186 (1948), cert. denied, 335 U.S. 908 (1949), and Backus v. United States, 75 Ct. Cl. 69, 59 F. 2d 242 (1932), cert. denied, 288 U.S. 610 (1933). The opinion in Guggenheim rested, not only on estoppel, but also on facts very similar to those present here showing that the taxpayer and the Government had effected an informal compromise. In this case, as in Guggenheim,, there was no violation of any mandatory provisions of statute or regulation. A proper delegate of the Secretary (Mr. Morgan) approved the compromise, as required by Section 7122. The form prescribed by Section 601.203 of the regulations was not used, but this provision was merely procedural and directory. Cf. Luhring v. Glotzbach, 304 F. 2d 560, 563-65 (C.A. 4, 1962); Flynn v. Commissioner, 40 T.C. 770 (1963).1 The form actually employed was sufficient, together with the correspondence, to effect the settlement.
The most serious flaw is the failure of the defendant to show that a delegate of the General Counsel made the record provided by Section 7122 (b). Under normal rules of procedure and our Rule 15(b) (“Affirmative Defenses”), the defendant, not the plaintiff, has the burden of convincing us that a valid “accord and satisfaction” (i.e., compromise) was made. There is no adequate proof by the Government, now before us, that Mr. Morgan, who purported to make the record contemplated by the statute, was a delegate of the General Counsel of the Treasury; he seems, rather, to have been the representative of the Commissioner of Internal Revenue alone. This defect, however, does not affect the compromise. In Backus, sufra, 75 Ct. Cl. at 99, 59 F. 2d at 256, *126this court ruled that the comparable section of earlier tax legislation calling for the opinion of the Solicitor of Internal Revenue on compromises “is addressed alone to the officer and is directory, and a failure to comply therewith would not affect the compromise itself or its validity.” 2

 I do not agree that properly-promulgated mandatory regulations may be waived ad hoe by the issuing authority. See Service v. Dalles, 354 U.S. 363 (1957).


 Plaintiffs summarily state that, in any event, they have not received full tax credit for a capital loss carry-over. Defendant sets out figures to show that due credit was given even before the Revenue Agent began to compute the deficiency which triggered the compromise. In my view, plaintiff has failed to raise an issue of fact on this issue, sufficient to require the case to go to a Trial Commissioner.

